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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 IN THE MATTER OF:                                 )
                                                   )     Case No. 18-12157
 HOLLY MARIE VAN HOOK                              )     Chapter 7
           DEBTOR.                                 )
 YVETTE GAFF KLEVEN, TRUSTEE,                      )     Adversary Proceeding No. 19-__________
           PLAINTIFF                               )
                                                   )
 VS.                                               )
                                                   )
 KITCH ACCEPTANCE CORPORATION                      )
           DEFENDANT                               )




                         COMPLAINT TO RECOVER PREFERENCE



       Plaintiff, Yvette Gaff Kleven, Trustee, (“Plaintiff”) for her Complaint against Kitch

Acceptance Corporation (“Defendant”) alleges and states as follows:

                                                  I.

                                         JURISDICTION

       1.      This is an adversary proceeding to recover a preference pursuant to 11 U.S.C. § 547.

       2.      This Court has jurisdiction to hear and determine this adversary proceeding pursuant

to 28 U.S.C. § 1334 and 28 U.S.C. § 157.

       3.      Plaintiff consents to entry of final orders or judgment by the Bankruptcy Court

pursuant to Bankruptcy Rule 7008.

       4.      Venue over this adversary proceeding is properly in this District and this Division

pursuant to 28 U.S.C. § 1409.
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        5.      This matter is properly before this Court as an adversary proceeding pursuant to

Bankruptcy Rule 7001.

        6.      This adversary proceeding relates to the main case of Holly Marie VanHook,

Bankruptcy Case No. 18-12157 (Chapter 7) in the United States Bankruptcy Court for the Northern

District of Indiana, Fort Wayne Division.

                                                    II.

                                               PARTIES

        7.      Plaintiff, Yvette Gaff Kleven, is the duly appointed Chapter 7 Trustee in the case of

Matter Holly Marie VanHook, Bankruptcy Case No. 18-12157 (Chapter 7) in the United States

Bankruptcy Court for the Northern District of Indiana, Fort Wayne Division.

        8.      Kitch Acceptance Corporation is a creditor who received a preferential payment. Its

primary address is 130 W. Main Street, Ste., 100, Fort Wayne, IN 46802.

                                                   III.

                                        CAUSES OF ACTION

        For her cause of action, the Trustee alleges and states as follows:

        9.      On November 7, 2018, the Debtor filed a petition for relief under Chapter 7 of the

United States Bankruptcy Code.

        10.     Yvette Gaff Kleven was appointed as Trustee on November 7, 2018.

        11.     Upon information and belief, Defendant received $2,836.03 in the ninety (90) days

prior to the filing of the bankruptcy petition. These payments were made pursuant to a garnishment

order entered in an underlying State court case in Kitch Acceptance Corporation v. Holly M.

VanHook, Case No. 02D09-1710-CC-002402.

        12.     At the time of the payment, the Debtor was insolvent.


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        13.      The payments enabled Defendant to receive more than the creditor would receive in

a Chapter 7 case, if the transfers had not been made, and the creditor received payment of the debt

to the extent provided by the provisions of Title 11.

        14.      The payments to Defendant constitute a preference which is recoverable by the estate

pursuant to 11 U.S.C. § 550.

        WHEREFORE, Plaintiff, Trustee, requests that the court enter judgment against Defendant,

Kitch Acceptance Corporation, in the amount of $2,836.03 , plus pre-judgment interest if applicable,

plus costs, and for all other just and proper relief in the premises.

        Dated: March 19, 2019

                                                            Respectfully submitted,

                                                            /s/ Douglas R. Adelsperger
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                                                            Kleven




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